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CLERK, U.S. DISTRICT COURT
351 SOUTH WEST TEMPLE STREET             U.S. DISTRICT COURT
ROOM 1.100
SALT LAKE CITY, UT 84101
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                                 UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH


                          NOTICE OF GARNISHMENT AND EXEMPTIONS

                       YOUR MONEY MAY BE TAKEN TO PAV A CREDITOR.
                              PLEASE READ THIS NOTICE CAREFULLY


          The attached Writ of Garnishment and Answers to Garnishee Interrogatories have been
 issued on request of a creditor (the plaintiff) who sued you and won and got a judgment against
 you (or a prejudgment Writ of Garnishment has been issued against you). This means that
 money held for you by the garnishee (such as your bank or employer) may be taken by the
 Plaintiff to pay a judgment against you. If you are not sued but own an account with someone
 who was sued, read this Notice too.

         The law provides that certain monies cannot be taken to pay judgments. Such money is
 said to be exempt. The following is a partial list of funds that are exempt:

         * Social Security Benefits                  * Alimony or Child Support
         * Supplemental Security Income (SSI)        * Veterans' Benefits
         * Certain Pensions                          * Workers' Compensation benefits
         * Unemployment Benefits
         * Public Assistance (Welfare)
         * Part of your wages (all of your wages if the Writ of Garnishment is issued prior to any
        judgment being rendered against you)
         * Property or money of a person who did not have a judgment entered against them.

       There may be additional exemptions. There is no exemption solely because you are
having difficulty paying your debts. The above exemptions may not apply to judgments for
alimony and child support.

       The law also recognizes that if the money or property that are to be taken belong to
you, but the judgment is not against you, your money should not be taken.

       If you are a co-owner of property that is taken, you should request a hearing to protect
your share.

IF THE MONEY IN AN ACCOUNT DOES NOT BELONG. TO YOU, OR IF YOU ARE AWARE OF
OTHER REASONS WHY THIS MONEY SHOULD NOT BE TAKEN, YOU MAY WANT TO CONSULT
AN ATTORNEY.
         Because of the garnishment, your place of employment or your financial institution or
 other person was required to hold the amount of money claimed by the plaintiff. This means
 that you may not now withdraw or get this money.

         If you believe that the Writ of Garnishment was issued Improperly, that the Answers
 to Interrogatories are inaccurate, or that you are entitled to an exemption, DO THE
 FOLLOWING IMMEDIATELY. You have a deadline of ten {10) days from the date the plaintiff
 mailed or delivered this notice to you.

 1.     If funds in your account were garnished, on the attached "Request for Hearing" check
        the appropriate box(es) in paragraph one.

 2.     If your wages were garnished, on the attached "Request for Hearing" check the
        appropriate boxes in paragraph two.

 3.     Sign your name in the space indicated and provide the address where the Court Clerk is
        to notify you of the hearing.

        A KNOWINGLY-MADE FALSE STATEMENT ON THE FORM MAY SUBJECT YOU TO
        CRIMINAL PENALTIES.

4.     Mail or take the Request for Hearing to the Court Clerk within ten (10) days from the
       date this notice was mailed or delivered to you. Mail a copy of the Request for Hearing
       to the garnishee. Keep the second copy of the "Request for Hearing" for your records.
       The Clerk of Court will set the matter for hearing and notify you. You have a right to a
       hearing within ten (10) days from the date the Clerk of Court receives your claim. At the
       hearing in Court, you will have to prove that your money is exempt. You should bring
       any documents which may help to prove your money is exempt.

       You may wish to consult an attorney for advice or assistance concerning the hearing. If
you do not come to Court on the designated time and prove that the garnishment was Issued
improperly, that the answers to the interrogatories are inaccurate, or that your money is
exempt, you may lose some of your rights.

If you do not request a hearing within the time specified above, but you believe that the
garnishment was Issued improperly, that the answers to interrogatories are inaccurate or that
you_ are entitled to an exemption, you should consult an attorney. The attorney may be able to
assist you by filing papers with the Court.
                                   UNITED STATES DISTRICT COURT
                                         DISTRICT OF UTAH



APOTHECARY MOVEMENT, LLC, a Utah
                                                *
limited liability company                       *
  Plaintiff,                                    *              REQUEST FOR HEARING
                                                *
                                                *
          vs.                                   *
BH ELEGANT LINENS dba AA WHOLESALE                             CIVIL NO. 2:23-cv-ooa45
DEALS, and Swift Innovations                    *
Defendant,                                      *
                                                *

I.        Respond to these items if funds in your account were garnished:

          A;     []   I believe that the Writ of Garnishment was issued improperly.         (Explain)



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          B.    []    I believe that the Answers to 1nterrogatorles are inaccurate.      (Explain)




          C.    [] The funds in my account are exempt from garnishment because
                they are: (Check applicable boxes):

                [ ] Social Security Benefits                  [] Pensions
                [] Supplemental Security Income (SSI)         [] Alimony/child support
                [ ] Veterans' Benefits                       (] Public Assistance (welfare)
                [] Unemployment Benefits                     [] Owned by another person
                [] Workers' Compensation Benefits            [] Partly owned by me
                [] Wages/income from personal services
                [] Other (describe) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           D.    Check one box:
                 []      All funds in my account are exempt.
                 [I      I believe that$ _ _ _ _ of the amount in my account is
                          exempt.      (Fill in the dollar amount you believe is exempt.)




       E.        Check if applicable
                 [I     I claim ownership of ail or part of the money or property taken and I am
                        not one of the persons against whom a judgment has been entered.




       F.        Check if applicable
                 []     I have attached copies of the documents that show that my money is
                        exempt.


II.    Respond to these items if all or part of your wages were garnished.
      A.        [I      I believe that the writ of garnishment was issued improperly. (Explain)




      B.        [I     l believe that the Answers to Interrogatories are inaccurate.        (Explain)




      C.        [l     I believe that all or part of my wages are exempt from garnishment.·
                       (Explain) _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
THE STATEMENTS MADE IN THIS REQUEST ARE TRUE TO THE BEST OF MY KNOWLEDGE AND
BELIEF, AND I HEREBY REQUEST THAT THIS MATTER BE SET FOR A HEARING. I HAVE SENT A
COPY OF THIS REQUEST FOR HEARING TO THE GARNISHEE.



      DATEDTHIS _ _ _ _ DAYOF _ _ _ __,20_ _.
      (Please      Name:
      type or     Address:
      print)


                  Telephone:
                  Signature:
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